  Case: 1:20-cv-04176 Document #: 145-1 Filed: 03/26/25 Page 1 of 14 PageID #:890




                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

Bureau of Consumer Financial                   Case No. 1:20-cv-04176
Protection,

              Plaintiff,

             v.                                Judge Franklin U. Valderrama
                                               Magistrate Judge Heather K. McShain
Townstone Financial, Inc. and Barry Sturner,

              Defendants.



 MEMORANDUM OF LAW IN SUPPORT OF JOINT MOTION FOR RELIEF FROM
   AND VACATUR OF THE STIPULATED FINAL JUDGMENT AND ORDER
  Case: 1:20-cv-04176 Document #: 145-1 Filed: 03/26/25 Page 2 of 14 PageID #:891




                                   I.      INTRODUCTION

       This Court is familiar with the facts of this case, as they were presented by the parties

during its pendency. As explained below and in the attached Declaration of Dan Bishop, Senior

Advisor to the Consumer Financial Protection Bureau (“Bureau” or “CFPB”), there were

significant undisclosed problems with the Bureau’s treatment of this case, resulting in unmerited

investigation and litigation and the infringement of the Defendants’ First Amendment rights,

which warrant relief under Rule 60(b).

        On July 15, 2020, the Bureau brought this action against Townstone and Barry Sturner

for allegedly engaging in acts or practices discouraging on a prohibited basis prospective

applicants from seeking credit, in violation of (i) the Equal Credit Opportunity Act (“ECOA”),

15 U.S.C. §§ 1691–1691f; (ii) its implementing Regulation B, 12 C.F.R. § 1002.4(b); and (iii)

the Consumer Financial Protection Act of 2010 (“CFPA”), 12 U.S.C. § 5536(a)(1)(A). On

November 25, 2020, the Bureau filed an amended complaint adding a claim for fraudulent

transfer. The Court dismissed on statutory grounds on February 3, 2023, but the Seventh Circuit

reversed. On remand, the parties entered into a consent decree that required Townstone to pay a

$105,000 fine. The Court entered the Final Judgment on November 7, 2024.

       On January 20, 2025, the newly inaugurated President of the United States ordered the

agency heads to “identify and take appropriate action to correct past misconduct by the Federal

Government related to censorship of [constitutionally] protected speech” and “to review the

activities of … agencies exercising civil and criminal enforcement authority … and identify any

instances” reflecting improper targeting of enforcement actions “oriented more toward inflicting

political pain than toward pursuing actual justice or legitimate governmental objectives.” Exec.

Order No. 14149 § 2(d), 90 Fed. Reg. 8,243 (Jan. 20, 2025); Exec. Order No. 14147 §§ 1, 3, 90


                                                 1
  Case: 1:20-cv-04176 Document #: 145-1 Filed: 03/26/25 Page 3 of 14 PageID #:892




Fed. Reg. 8,235 (Jan. 20, 2025). Declaration of Dan Bishop (“Decl.”) ¶ 1. Pursuant to the

President’s directive, the Bureau’s new leadership undertook a review of agency records

concerning recent enforcement actions, including this one. Decl. ¶ 3. The Bureau discovered

within its internal case files indications that the Bureau commenced and continued its

investigation and litigation without a substantial predicate of actionable facts and targeted co-

defendants Townstone and Townstone President and CEO, Barry Sturner, based on

constitutionally protected speech. Decl. ¶ 4. This action should not have been filed. Decl. ¶ 4.

       At the time the suit was pending and before entering into the consent decree, the

Defendant could not have known about the analytical deficiencies within the agency’s processes

or the extent of the targeting on the basis of his viewpoints. Neither did the Court, which drew

lines in the discovery process to prevent the Bureau from abusing First Amendment values.

Order at 13, ECF No. 104. Nonetheless, it is now clear the Bureau did precisely that. Decl. ¶ 4.

Accordingly, the parties jointly move this Court under Rule 60(b)(6) to set aside the judgment

and the consent decree, as the judgment is inequitable and undermines confidence in the judicial

process.

                                  II.     LEGAL STANDARD

             RULE 60(B)(6) ALLOWS THE COURT TO SET ASIDE THE JUDGMENT
                      FOR “ANY REASON THAT JUSTIFIES RELIEF.”

       Rule 60(b)(6) “vests power in courts adequate to enable them to vacate judgments

whenever such action is appropriate to accomplish justice.” Klapprott v. United States, 335 U.S.

601, 615 (1949) (granting motion to set aside judgment). Rule 60(b)(6) is “open-ended” and

“flexible,” such that the Court has “wide discretion” when entering a ruling. See Pearson v.

Target Corp., 893 F.3d 980, 984 (7th Cir. 2018) (citing Buck v. Davis, 137 S. Ct. 759, 777



                                                 2
  Case: 1:20-cv-04176 Document #: 145-1 Filed: 03/26/25 Page 4 of 14 PageID #:893




(2017)) (granting Rule 60(b)(6) motion to vacate judgment).

        Where the motion is joint, the constraints on Rule 60(b)(6) relief are relaxed. For

example, this Court’s sister district certified to the Seventh Circuit willingness to grant a Rule

60(b)(6) motion where the “motion was jointly filed by the parties due to recent settlement.”

Cummins v. Illinois, No. 02-CV-4201-JPG, 2010 WL 334514, at *2 (S.D. Ill. Jan. 25, 2010). In

such circumstances, the court noted, “[a]bsent is the general concern that Rule 60(b)(6) ‘is not an

appropriate vehicle for addressing simple legal error, for rehashing old arguments, or for

presenting arguments that should have been raised before the Court made its decision.’” Id.

(quoting O’Neil v. Acevedo, Case No. 03–cv–838–JPG, 2008 WL 3382627, at *2 (S.D. Ill. Aug.

11, 2008)). Likewise, in Marcus A. T. v. Comm’r of Soc. Sec., No. 3:21-CV-273-DWD, 2023

WL 3304727, at *2 (S.D. Ill. May 8, 2023), the court granted an unopposed motion:

        Here, after considering Plaintiff’s arguments on appeal and attending a court-
        ordered mediation, Defendant reconsidered her appellate strategy. The parties now
        agree it is appropriate to vacate the Court’s [judgment]. . . . See Fed. R. Civ. P.
        60(b)(6); Kemp v. United States, 142 S. Ct. 1856, 1861 (2022); Braun v. Vill. Of
        Palatine, 56 F.4th 542, 554 (7th Cir. 2022); Pearson, 893 F.3d at 984; see also
        Manjarrez v. Berryhill, No. 17-cv-300, 2019 WL 2710271, *1 (N.D. Ind. Apr. 9,
        2019) (in case presenting the same procedural posture, granting Defendant’s
        unopposed motion for relief under Rule 60(b)(6)).

See also, e.g., Mayes v. City of Hammond, Ind., 631 F. Supp. 2d 1082, 1088 (N.D. Ind. 2008)

(granting joint request for vacatur, citing in part “the joint nature of the request for vacatur”); cf.

Orlowski v. Eriksen, No. 07-C-4015, 2010 WL 2401938 (N.D. Ill. Jun. 10, 2010) (granting

unopposed Rule 60(b)(6) motion).

        Giving weight to the parties’ unanimity in the motion flows from the nature of Rule

60(b)(6), which “is fundamentally equitable,” Ramirez v. United States, 799 F.3d 845, 851 (7th

Cir. 2015) (citations omitted). Thus, although Rule 60(b)(6) is an extraordinary remedy, the

Court’s latitude is wide enough to take into account the parties’ mutual posture: The Court is

                                                   3
  Case: 1:20-cv-04176 Document #: 145-1 Filed: 03/26/25 Page 5 of 14 PageID #:894




“guided by the array of equitable factors of justice and hardship traditionally balanced by district

courts in considering requests for Rule 60(b) relief,” such as “the public interests in precedent,

preclusion, and judicial economy and the circumstances, hardships, and interests of private

parties.” Mayes, 631 F. Supp. 2d at 1088; see also Stryker Spine v. Spine Group of Wisconsin,

LLC, 2018 WL 1054386, at *2–3 (E.D. Wis. Feb. 26, 2018) (citing cases). Among the “many

factors” the court considers are the risk of injustice to the parties and the risk of undermining the

public’s confidence in the judicial process. See Braun, 56 F.4th at 554 (quoting Buck, 137 S. Ct.

at 778); see also Marcus A. T., 2023 WL 3304727, at *1–2 (citing cases).

       Finally, with respect to a consent decree, which is the subject of this Joint Motion, Rule

60(b) supplies an even more “flexible standard” for a District Court to adjust its final judgment

or order, to harmonize it with changed circumstances in law or fact. Rufo v. Inmates of Suffolk

Cnty. Jail, 502 U.S. 367, 380, 393 (1992); see also O’Sullivan v. City of Chicago, 396 F.3d 843,

866 (7th Cir. 2005) (similar); South Suburban Housing Ctr. v. Berry, 186 F.3d 851, 855 n.1 (7th

Cir. 1999) (“A court of equity has the power to modify a consent decree to adapt for changed

circumstances.”). This is especially the case where the sought-after adjustment “relates to the

vindication of a constitutional right.” Rufo, 502 U.S. at 389 n.7.

                                       III.    ARGUMENT

   THE JOINT MOTION SHOULD BE GRANTED IN THE INTEREST OF JUSTICE

       Once new CFPB leadership undertook the review of the history of this case, it became

clear from the totality of internal evidence that this case has suffered from deficiencies on the

merits and Townstone was targeted because of its protected speech. The Bureau identified this

small business and initiated investigation and then litigation under the Equal Credit Opportunity

Act without substantial evidence of discrimination and based on the expressed political views of


                                                  4
    Case: 1:20-cv-04176 Document #: 145-1 Filed: 03/26/25 Page 6 of 14 PageID #:895




Mr. Sturner, Townstone’s principal. Decl. ¶ 5. As this Court is aware, during the pendency of

the case, Defendant did raise First Amendment issues and received significant support from

several amici.

        The First Amendment issues were not reached in four years of litigation, which followed

three years of investigation. But, neither Defendant, nor its amici, nor this Court could fully

fathom how egregious the First Amendment issues were without access to the Bureau’s internal

files, and so the Defendant ended up agreeing to a consent decree with the Bureau to put an end

to the costly litigation in the wake of the Seventh Circuit reversing this Court’s dismissal on

statutory grounds. Had Defendant been able to access the internal agency records demonstrating

that the Bureau failed to wrestle with the deficiencies in this case and that it was targeted, it

would have been able to advance a more strongly supported First Amendment, viewpoint-based

targeting defense against the Bureau. Indeed, Defendants sought discovery regarding CFPB’s

“interpretation of Townstone’s statements, including any documents concerning the political and

social views” of the Defendants, see Mot. Compel, ECF No. 89; Mem. Supp. Mot. Compel, ECF

No. 90, but CFPB refused to produce any such information, and the magistrate judge sided with

CFPB. Order at 15, ECF No. 104.1 What the Bureau has now uncovered and summarizes in the

Bishop declaration justifies vacatur.

        The Amended Complaint relies on postings on both Facebook and Twitter (now X) to

provide examples of the Defendant’s speech regarding the real-life facts confronting the people of

Chicago. The Bureau then used these statements as predicates for the ECOA enforcement action.

        Starting at least as early as 2014, the Townstone Financial Show was conducted
        weekly on AM radio and reached the entire Chicago MSA. A weekly podcast of

1
 Defendants filed objections to the Magistrate’s ruling with the District Court, see ECF No.105,
but those objections were not ruled upon when the District Court dismissed the case in
November 2024.
                                                5
  Case: 1:20-cv-04176 Document #: 145-1 Filed: 03/26/25 Page 7 of 14 PageID #:896




       the radio show has been available exclusively online. Townstone Financial
       Show radio broadcasts and podcasts have been available on the Townstone
       website. Both the radio show and podcast have been streamed on Facebook Live
       and then advertised on Facebook, Twitter, and LinkedIn.

Am. Compl. at ¶ 29.

       The Amended Complaint does not tell the whole story, however. The Bureau used a

variety of undisclosed tactics to gain access to this information, which further emboldened it to

pursue this enforcement action and to continue to litigate it through appeal and, ultimately, drive

Townstone into a consent decree to put an end to crushing pre-litigation and litigation expenses.

Decl. ¶ 8. Among other tactics, the Bureau used “an audio analytics mining software called

Nexidia” to term-search 78.5 hours of Townstone’s live-recorded content — 31 hour-long

Townstone radio programs on Saturday AM talk radio together with 95 30-minute Townstone

podcasts published on Thursdays on social media. Decl. ¶ 8. A memo from the fair lending staff

to then-senior leadership at the Bureau observed that “[m]uch of the content of the show is

overtly political, and often highly critical of the Bureau,” with only a perfunctory notation that

this was “irrelevant” to the investigation. Decl. ¶ 8. From the recordings, CFPB’s radio-show

“mining” identified six comments by Townstone hosts, appearing in one radio show and five

podcasts —16 minutes of the total recorded content (one-third of one percent) — that, according

to CFPB staff, were “disconcerting” and “could be interpreted as inappropriate, incorrect, or

insensitive.” Decl. ¶ 8.

       But the CFPB’s own assessment of the results of its first-stage investigation (1) identified

only a handful of allegedly “discouraging” comments, none of which were explicitly and

unambiguously hostile on a prohibited basis; (2) recognized that racial statistical disparities in its

lending did not appear to be explained by Townstone’s office location, any targeted marketing


                                                  6
    Case: 1:20-cv-04176 Document #: 145-1 Filed: 03/26/25 Page 8 of 14 PageID #:897




area or advertising, or business methodology or plan; (3) recognized that Townstone encouraged

the use of programs to help disadvantaged populations and hired racial and language minority

loan-officers; (4) identified no prospective applicants who complained about the statements or

were even aware of them; and (5) speculated that Townstone’s use of an AM talk radio station

for its weekly show could innocently limit its exposure to prospective black and Hispanic loan

applicants. Decl. ¶ 9, 12(b). Nevertheless, CFPB staff proposed to keep investigating to

“provide an opportunity for further investigation into Townstone’s views on race and racism.”

Decl. ¶ 9. Indeed, for the rest of this saga, up until the settlement, the Bureau continued to target

Townstone based on the political views of its owner. Decl. ¶ 9–10. This was not information

that Defendant had at the time, and it has only come to light now.2

        The Bureau’s targeting based on the protected speech persisted notwithstanding this

Court’s discovery ruling. In a December 12, 2022 Order, this Court denied on Rule 26(b)(1)

grounds the Bureau’s Motion to Compel Discovery (ECF No. 87), insofar as it asked this Court

to compel Mr. Sturner to turn over “all communications with his friends, family and associates

touching upon his racial, religious, gender-based, or age-based biases, if he had any,” as well as

“all of his communications about Mexicans or Canadians, or about particular neighborhoods.”

Order at 13, ECF No. 104. This Court specifically found that the relevance of the Bureau-sought

discovery to Townstone’s treatment of prospective credit applicants was “[not] central enough to

the case to warrant the privacy invasion that would result from compelled production of every




2
 Indeed, had the CFPB not conducted the recent internal investigation, the evidence presented
herein may never have come to light. Defendants were repeatedly denied this information in
discovery because the CFPB viewed the evidence as irrelevant, and in some cases, privileged.
See Mem. Supp. Mot. Compel at 3–4, ECF No. 90; Order at 15–16, ECF No. 104.
                                             7
  Case: 1:20-cv-04176 Document #: 145-1 Filed: 03/26/25 Page 9 of 14 PageID #:898




Sturner [communication].” Id. at 14. In crafting that discovery order, this Court clearly acted to

protect First Amendment values.

       Nevertheless, based on what has been brought to light from the internal case file review

conducted by the Bureau over the course of the last month, the parties agree that the Bureau

sought to infringe, rather than protect, First Amendment values. Decl. ¶ 11–12. From the

investigation to the litigation, and ultimately to the settlement, the Bureau focused on the

Defendant’s protected speech and repeatedly disregarded governing case law that did not support

the Bureau’s actions. The overall review of the Bureau’s internal files confirms that, based on

the totality of circumstances, this entire action constituted an effort on the part of the Bureau to

“‘excis[e] certain ideas [and] viewpoints from the public dialogue’” to which Townstone and

Sturner in particular had regularly contributed. 303 Creative LLC v. Elenis, 600 U.S. 570, 588

(2023) (quoting Turner Broad. Sys., Inc. v. FCC, 512 U.S. 622, 642 (1994)).

       The Bureau targeted Townstone Financial, on deficient grounds, and based on protected

speech, especially on social media. The Supreme Court and the Seventh Circuit have repeatedly

held that the government cannot use its coercive powers, directly or indirectly, to punish speech

it disagrees with, by a threat of prosecution, let alone by launching an actual prosecution. Most

recently, in National Rifle Association of America v. Vullo, the Court reaffirmed that a

government official cannot “use the power of the State to punish or suppress disfavored

expression.” 602 U.S. 175, 188 (2024).

       The Court in National Rifle Ass’n of Am. v. Vullo relied on Bantam Books v. Sullivan, 372

U.S. 58 (1963). There, a state commission used its power to investigate and recommend

criminal prosecution to censor publications that, in its view, were “objectionable” because they

threatened “youthful morals.” National Rifle Ass’n of Am., 602 U.S. at 188 (quoting Bantam


                                                  8
 Case: 1:20-cv-04176 Document #: 145-1 Filed: 03/26/25 Page 10 of 14 PageID #:899




Books, 372 U.S. at 59–62, 71). But “the First Amendment prohibits government officials from

relying on the ‘threat of invoking legal sanctions and other means of coercion … to achieve the

suppression’ of disfavored speech.” Id. at 189 (quoting Bantam Books, 372 U.S. at 67).

“Although the commission lacked the ‘power to apply formal legal sanctions,’ the distributor

‘reasonably understood’ the commission to threaten adverse action, and thus the distributor’s

‘compliance with the [c]ommission’s directives was not voluntary.’” Id. (quoting Bantam

Books, 372 U.S. at 66–68). “Ultimately, Bantam Books stands for the principle that a

government official cannot do indirectly what she is barred from doing directly: A government

official cannot … coerce a private party to punish or suppress disfavored speech on her behalf.”

Id. at 190.

        Likewise, in 303 Creative LLC, the Court held that Colorado sought to put a citizen to an

impermissible choice: “If she wishes to speak, she must either speak as the State demands or face

sanctions for expressing her own beliefs, sanctions that may include compulsory participation in

‘remedial ... training,’ filing periodic compliance reports as officials deem necessary, and paying

monetary fines.” 600 U.S. at 592. This amounted to a First Amendment violation.

        The Seventh Circuit’s decision in Backpage.com, LLC v. Dart, illustrates these

principles: “A public-official defendant who threatens to employ coercive state power to stifle

protected speech violates a plaintiff’s First Amendment rights, regardless of whether the

threatened punishment comes in the form of the use (or, misuse) of the defendant’s direct

regulatory or decisionmaking authority over the plaintiff, or in some less-direct form.” 807 F.3d

229, 230-31 (7th Cir. 2015). Thus, a sheriff was barred from “using the power of his office to

threaten legal sanctions against . . . credit-card companies for facilitating future speech.” Id.; see

also, e.g., Okwedy v. Molinari, 333 F.3d 339, 344 (2d Cir. 2003) (per curiam) (holding that a


                                                  9
 Case: 1:20-cv-04176 Document #: 145-1 Filed: 03/26/25 Page 11 of 14 PageID #:900




religious group stated a First Amendment claim against a borough president who wrote a letter

“contain[ing] an implicit threat of retaliation” against a billboard company displaying the group’s

disfavored message).

       In sum, the civil enforcement action here, based as it was on protected speech, is

prohibited: “At the heart of the First Amendment’s Free Speech Clause is the recognition that

viewpoint discrimination is uniquely harmful to a free and democratic society.” National Rifle

Ass’n of Am., 602 U.S. at 187. And vindicating this principle, the Supreme Court “has also

recognized that no public accommodations law is immune from the demands of the

Constitution.” 303 Creative LLC, 600 U.S. at 592.

       Yet, the Bureau’s internal view on the First Amendment issues in this case was to brush

them aside. Despite observing from the beginning that “the content of [Townstone’s] radio show

is overtly political,” investigators declared that it was “not protected” because it was

“commercial speech.” Decl. ¶ 15. In so concluding, they relied on two cases from the 1980s,

and entirely failed to address four decades of relevant and binding First Amendment precedent

that makes clear that the speech here is indeed protected by the First Amendment. Decl. ¶ 15.

For example, in Citizens United v. Federal Election Comm’n, 558 U.S. 310, 365 (2010), the

Supreme Court held that “[t]he Government may not suppress political speech on the basis of the

speaker’s corporate identity.” In Sorrell v. IMS Health Inc., 564 U.S. 552, 579 (2011), the

Supreme Court held the government may not suppress truthful commercial speech just because it

is controversial or not to the government’s liking. And “[c]ommercial speech is no exception” to

the viewpoint-discrimination doctrine. Id. at 566; see also Iancu v. Brunetti, 588 U.S. 388, 393

(2019) (“The government may not discriminate against speech based on the ideas or opinions it

conveys.”). In Nat’l Inst. Of Family & Life Advocates v. Becerra, 585 U.S. 755, 768–69 (2018),


                                                 10
 Case: 1:20-cv-04176 Document #: 145-1 Filed: 03/26/25 Page 12 of 14 PageID #:901




the Supreme Court rejected an attempt to carve out a lesser-protected category of “professional

speech”; the Court explained that to the extent commercial speech receives lesser protection, that

category is limited to factual disclosures and regulation of professional conduct incidentally

involving speech. Since the speech here is neither factual disclosures nor regulation of

professional conduct incidentally involving speech, the speech is fully protected by the First

Amendment.

        Here, Defendants were subjected to the serious hardship of a lengthy, groundless

investigation and then of defending a suit, and ultimately paying a $105,000 fine, where the

CFPB targeted them based on the viewpoints of Townstone’s owner, used improper tactics, and

did so without disclosing investigators’ motivations. The CFPB supports vacating the consent

judgment entered in this action and the stipulated dismissal of all claims in order to permit the

agency to return to Townstone the civil penalty it paid.

        In light of how the proceedings against Townstone unfolded, the parties respectfully ask

the Court to exercise its discretion and to set the judgment aside under Rule 60(b)(6). Allowing

this judgment to stand undermines the public’s faith in the system, given the use of governmental

powers to persecute citizens for protected activities. It is in the interest of justice to set aside this

judgment. Indeed, it is squarely within this Court’s “‘discretion piled on discretion’” to vacate

and relieve Townstone from the Final Judgment pursuant to Rule 60(b)(6). Wehrs v. Wells, 688

F.3d 886, 890 (7th Cir. 2012) (quoting Swaim v. Moltan Co., 73 F.3d 711, 722 (7th Cir. 1996)).

                                         IV.     CONCLUSION

        The parties jointly and respectfully ask the Court to vacate and relieve Defendants from

the Stipulated Final Judgment and Order, ECF No. 138. Upon this Court’s grant of Rule

60(b)(6) relief, all parties to this action stipulate to the dismissal with prejudice of all claims


                                                   11
 Case: 1:20-cv-04176 Document #: 145-1 Filed: 03/26/25 Page 13 of 14 PageID #:902




against Townstone and Mr. Sturner pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii),

(B).

Dated: March 26, 2025.



Respectfully submitted,


CONSUMER FINANCIAL                                 TOWNSTONE FINANCIAL, INC.,
PROTECTION BUREAU                                  AND BARRY STURNER
/s/ Mark Paoletta                                  /s/ Steven M. Simpson
MARK PAOLETTA (DC Bar # 422746)                    STEVEN M. SIMPSON
Chief Legal Officer                                DC Bar No. 462553
Mark.Paoletta@cfpb.gov                             ASHLEY TORKELSON LEVINE
Tel: (771) 959-6080                                AZ Bar No. 032544
VICTORIA DORFMAN (DC Bar # 487567)                 Pacific Legal Foundation
(NY Bar # 4656625)                                 3100 Clarendon Boulevard, Suite 1000
Victoria.Dorfman@cfpb.gov                          Arlington, VA, 22201
DANIEL SHAPIRO                                     Tel: (202) 888-6881
(FL Bar # 1011108)                                 SSimpson@pacificlegal.org
Daniel.Shapiro@cfpb.gov                            ALevine@pacificlegal.org

1700 G Street NW                                   OLIVER J. DUNFORD
Washington, DC 20552                               FL Bar No. 017991
                                                   Pacific Legal Foundation
Attorneys for Plaintiff                            4440 PGA Boulevard, Suite 307
                                                   Palm Beach Gardens, FL 33410
                                                   Tel: (916) 503-9060
                                                   ODunford@pacificlegal.org

                                                   SEAN P. BURKE
                                                   RAY BIEDERMAN
                                                   Mattingly Burke Cohen & Biederman LLP
                                                   155 E. Market St. Suite 400
                                                   Indianapolis, IN 46204

                                                   MARX DAVID STERBCOW
                                                   The Sterbcow Law Group LLC
                                                   824 Elmwood Park Boulevard, Suite 205
                                                   New Orleans, LA 70123

                                                   Attorneys for Defendants


                                              12
 Case: 1:20-cv-04176 Document #: 145-1 Filed: 03/26/25 Page 14 of 14 PageID #:903




                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on March 26, 2025, I electronically filed the

foregoing document with the Clerk of the Court via the CM/ECF system, which will cause a

copy to be served upon counsel of record.


                                                                              /s/ Mark Paoletta
                                                                            MARK PAOLETTA




                                               13
